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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-04-5244 REC
                                       )
10                                     )       ORDER DIRECTING UNITED
                                       )       STATES TO FILE PROPOSED
11                    Plaintiff,       )       REDACTED STATEMENTS BY 1:30
                                       )       P.M., FRIDAY, APRIL 29, 2005
12              vs.                    )
                                       )
13                                     )
     NORMAN MOLYNEUX, et al.,          )
14                                     )
                                       )
15                    Defendant.       )
                                       )
16                                     )

17        The United States is hereby ordered to file the proposed

18   redacted statements of co-defendants Prout and Stohl by 1:30

19   p.m., Friday, April 29, 2005 in order that the court and

20   defendant Molyneux may be prepared to discuss the effect of the

21   proposed redactions on defendant Molyneux's motion to sever,

22   which is set for hearing on May 2, 2005.

23   IT IS SO ORDERED.

24   Dated:   April 26, 2005                       /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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